                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TENNESSEE
  ARTHUR CHARLES SMITH
         Petitioner,                               Case # 3:                  13-crfo!kJ: D
  vs.                                                                             ZOI 9 APR 22 P 12: I ~
  UNITED STATES OF AMERICA                                                         U. S. 01S TRICl COURT
         Respondent.                                                               £./\ STERN OiST. TENK



                   MOTION TO VACATE, SET ASIDE~ OR CORRECT SENTENCE
                            fURSUANT TO 28 U.ScC. § 2255(f)(3)

         Comes Now the petitioner in the above titled case, Who Respect-

 fully moves this Honorable Court for an Order granting his motion to
 Vacate, Set Aside, or Co r rect Sentence, Pursuant to 28                           u.s.c.     § 2255

 (f)(3) based on two Retroacrive cases from the Supreme Court, ~ohnson
 v. Uni te.~ S ta tes, 135 S. Ct. 2551, 192 L. Ed. 2d 569 ( 2015) and S-ess ions
 v. Dimaya, 1338 S. Ct. 120.4, _200 L.Ed.2d 549 (2018), which the Supreme
 Court stat·e s is an extension of Johnson.             ..:.   -- .   ·-··-   -




                                QUESTION OF RETROACTIVITY
 STATUTE OF LIM~JATION~
        es   u.s ..c.   § 2255(f)(3) allows the petitioner to file a motion

w±thin one year of the Supreme Court's decision in SessJ.E.!1 v. Dimaya,

138 S.Ct. 1204, 200 L.Ed.2d 549 (2018), which is retoractive· because

it is an exrension Johnson. Dimaya was decided .A.pril 17, 2018,. Th1,1s                             ~

this motion is timely. However, if there is any question of retioact~
ivi ty, this court can make; the determination whether the case is ·re-

troactive. See podd v. United States, 543 U.S. 353, 357-58, 125 S.Ct.

2478, 162 L.Ed.2d 569 (2O15)("holding that the one-year limitation

period runs "from the date on which the right ... was· initially recog-

nized by th[e] [Supreme Court], which should apply to the petitioner's

case.



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                                    1.
       When the Supreme Court has made a new rule of Con~titutional
  law retroactiviely applicable to cases on collateral review. In
 United States v. Sanders, 247 F.3d 139 (4th Cir. 2001), We "assum[d]
 without deciding that a Circuit Court can declare a new rule
 retroactive on collateral review in an initial §2255 petition." Id.
 at 146 n.4. In doing so, we noted the contrast in the statutory
 language governing retroactivity for purposes of filing a "Second
 or Sucessive" motion in §2255(h). Id. Unlike the former, which
 references a "right [that] has been newly recognized by the Supreme
 Court and made retroactively applicable to cases on collateral review"
 28 u.s.c.A. §2255(f)(3)(emphasis added), the later specifically
 provides that "[a] second or sucessive motion must certified as
provided in section 2244 by a panel of the appropriate Court of
appeals to contain ... a new rule of Constitutional law, made retro-
active to cases on collateral review by the Supreme Court, that was
previously unavailable, "28 U.S.C.A. §2255(h)(2)(emphasis added);
We also note, however, that "the language of subsection [(f)(3)]
can also be read to require the Supreme Court to make the decision
on retroactivity before a petitioner may fil~ an initial §2255
motion." Sanders, 247 F.3d at 146 n.4; but see Dodd, and make a new
rule retroactive for purposes of this section can be made by any
lower court," rather than "only [by] the Supreme Court,., ( first
emphasis added).
     This Circuit now joins those circuits that have considered the
issue and hold that §2255(f)(3) does not require that the initia-1
retroactivity question be decided in the affirmative only by the
Supreme Court. See Wiegand v. United States, 380 F.3d 890, 892 (6th



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  Cir. 2004) (holding that "any federal court can make the retroact-
  ivity decision" for purposes of §2255(f)(3); Dodd v. United States,
 365 F.3d 1273, 1278 (11th Cir. 2004.)(holding that "every circuit
 consider this issue has held that a court other than the Supreme
 Court can make the retroactivity decision for pm;poses of §2255(f)(3))"
 aff'd 545 U.S. 353, 125 S. Ct. 2478, 162 L.Ed 2d 343 (2005);
 United States v. Swinton, 333 F.3d 481, 486-87 (3rd. Cir. 2003)
 (concluding that the statute of limitation provision of §2255 allows
 district courts and courts of appeals to make retroactivity decision"
 and that this "may be essential to put the question before the ,
 Supreme Court for final resolution"); Fischer v. United States, 285
 F.3d 596, 599-600 (7th Cir. 2002) (noting that "district courts, no
 less than the Supreme Court, may issue opinions holding that a
decision applies retroactively to cases on collateral review"
(internal quotation marks and alteration omitted)). United States v.
Lopez, 248 F.3d 427, 432 (5th Cir. 2001)(holding that section 2255
(f)(3) "does not require that the retroactivity determination must
be made by the Supreme Court itself").

                             PROCEDURAL HISTORY
     Petitioner argues that he plead guilty to three federal counts
stemming from his Armed Robbery of a CVS Pharmacy in Sevierve,
Tennessee. The government contended that Smith qualified as a career
offender based on two prior state-court convictions; one for Drug
Trafficking under South Carolina Law and the other for common-law
Robbery under North Carolina law. Petitioner admitted that the
South Carolina Drug-Trafficking conviction was a predicate offense,
but maintained that the North Carolina common law Robbery ~-Onviction

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was not.
     When Petitioner was originally sentenced on September 30, 2013,
the applicable version of the guidelines (2012 ED.) Defined "crime
of violence" as follows:
           The term "crime of violence" means any offense under federal
           or state law, punishible by imprisonment for a term exceeding
           one year, That-(1) Has an element the use, attempted use or
           threatened use of physical force against the person of
           another, or (2) is a burgulary of a dwelling, arson, or
           ;extortion, involves use of explosives, or otherwise involves
           conduct that presents a serious potential risk of physical
           injury to another. U.S.S.G. § 4B1.2(A)(2012). Subsection (1)
           is commonly known as the "elements" clause. Section (2) is
           general divided into the "enumerated-offense" clause ("is
           burglary of a dwelling, arson or extortion involves use of
           explosives") and the "residual" clause ("or otherwise
           involves conduct that presents a serious potential risk of
           physical injury to another").
     At Petitioner's original sentencing hearing the District Court
concluded that North Carolina common-law Robbery qualifies as a crime
of violence under the residual clause. The Court thus applied the
career-offender enhancement, which increased petitioners guidelines
range from 194-221 months up to 262-327 months. The District Court
opted for the bottom end of the range, thus sentencing Petitioner to
262 months imprisonment.
     Petitioner appealed and the Court of Appeals for the Sixth Circuit
affirmed the sentence in an unpublished opinion that relied on the
residual clause. U.S. V. Smith (Smith- 1), However the Supreme Court
invalidated the Armed Career Criminal Acts identically worded residual



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 so long as Smith l's reasoning has not been otherwise undermined."

Further, the Court stated "A thorough examination of both Smith 1

and the reason's Smith offers to depart from it shows that the logic

of Smith 1 remains sound and therefore North Carolina common-law

Robbery is a crime of violence under the guidelines 'Residual Clause'.

        As a consequence the United States Court of Appeals for the

sixth Circuit ordered that the Petitioner's sentence be affirmed.

                                      ARGUMENT

I.      Petitioner asserts that in light of Supreme Courts holding in

Sessions V. Dimaya, 528 U.S._, 138 S. Ct. 1204, 200 L. Ed.2d 549

(2018). Petitioner conviction for common-law Robbery is invalid.

A.      Petitioner avers Sessions V. Dimaya held that a court must not

only identify the conduct typically involved in a crime, but also

gauge its potential consequences, or said a bit differently

evaluating the risk of physical force itself entails considering the

risk of physical injury which means crime of violence. Further the

Dimaya court held that 4B1.1 along with 18 U.S.C. § 16(b) i~

unconstitutionally vague, therefore Petitioner's sentence is

constitutionally invalid. Petitioner's common-law Robbery fails to

meet the standards for actual physical injury in order to substantiate

an actual "crime of violence," thus this court should be compelled to

conclude that North Carolina common-law Robbery cannot be considered

as a crime of violence for enhancement purposes under U.S.S.G. § 4B1.1.

(see Johnson V. United States)

B.      Petitioner's sentence was imposed in violation of the constitution

under the fifth amendment.

        The Dimaya Court established that, absent the aggravating conduct

necessary to substantiate an enhanced sentence under U.S.S.G. 4B1.1

such a sentence would be a miscarriage of justice that runs afoul


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of the fifth amendment.
        At sentencing before the United States District Court of
Tennessee, the Court held that Petitioner's prior conviction of
North Carolina common-law Robbery was and is a "violent felony"
under the Residual Clause. Petitioner now would like this Court to
consider the fact that until the holdings in Johnson and Dimaya, the
Court was in good standing as to the sentence premised via the
Residual Clause. However, post-Johnson and Dimaya establishes that
the upholding of such a sentence is unlawful see United States V.
Butler, 2019 U.S. App LEXIS 2139, United States V. Gander, 823 F.3d
793, 803-04 (4th Cir. 2016), Davis V. United States, 2016 U.S. Dist.
LEXIS 100993 (4th Cir. 2016), United States V. Middleton, 883 F.3d
485. Held that North Carolina common-law Robbery does not necessarly
include the use, attempted use or threatened use of physical force
capable of causing physical pain or injury to another person.
        Wherefore Petitioner request that this Court grant relief in the
form of vacating Petitioner's sentence and resentence absent U.S.S.G.
4B1.1 career offender guidelines.
II.     Johnson interpreted physical force to mean physical injury, thus
Petitioners common-law Robbery does not meet the standard.
A.      Petitioner, avers that the prior conviction under North Carolina
common-law Robbery is not categorically a crime of violence under
U.S.S.G. 4B1.2(A)(1)'s use of physical force clause. In United States
V. Gardner, 823 F.3d 793, 803-04 (4th Cir. 2016). The fourth Circuit
determined that "A conviction under North Carolina Robbery statute
did not qualify as a violent felony under the ACCA in light of dec-
isions from the North Carolina Court of Appeals holding that 'A
defendant's act of pushing the victims hand off a carton of cigarette
was sufficient "actual force" to uphold a common-law Robbery


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conviction. However, Petitioner's common-law Robbery was based on

acts that did not involve use or attempted use of force as required

by law.

     Wherefore, Petitioner request that this Court grant relief via

vacating his sentence in light of Johnson and resentenc~ng him without

the application of U.S.S.G. 4B1.1 Career Offender guideline.

                                 CONCLUSION

     Whereas the ·government for the fourth Circuit has made the

consession that absent actual physical force, common-law Robbery

is not itself a crime of violence. Based on the forgoing facts

submitted to this court, this court should vacate, set-aside and

resentence Petitioner as mandated in light of the Supreme Court hold~

ings Johnson and Dimaya     and resentence the petitioner as mandated

in light of the Supreme Court holding in Johnson _fand Dimaya and

resentence petitioner to the guidelines applicable without the

career offender enhancement.




Dated April 17, 2019                        Respectfully Submitted




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                                   CERTIFICATE OF .:;ERVICE




                                       hereby ~certify that I have served a true


and correct copy of the foregoing:




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245 (1988), upon the Court and parties to litigation _and/or his/·

her at~orney(s) of record, by placing -same in a sealed · , postage

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